
390 Mich. 91 (1973)
211 N.W.2d 842
SINNOTT
v.
NOBLE
No. 10 September Term 1973, Docket No. 54,365.
Supreme Court of Michigan.
Decided September 18, 1973.
Maile, Leach &amp; Schreier, for plaintiff.
*92 Alexander, Buchanan &amp; Seavitt, for defendants Ohlrich and The Budd Company.
PER CURIAM:
ORDER.
The issues upon which leave to appeal in this matter was heretofore granted having been thoroughly examined, and briefs and arguments thereon considered, it is the opinion of the Court that leave to appeal was improvidently granted.
The only meritorious issue raised by appellant was the correctness of the charge to the jury. It is not properly before us at this time, no objection having been made by appellant at trial, GCR 1963, 516, and the issue not having been framed by appellant in his brief, GCR 1963, 854; 813. For additional reasons and discussion see 30 L Ed 2d 829, 847-854.
Accordingly, the Court does not pass on the correctness of the instructions given, and neither approves nor disapproves them.
T.M. KAVANAGH, C.J., and T.E. BRENNAN, T.G. KAVANAGH, SWAINSON, WILLIAMS, and M.S. COLEMAN, JJ., concurred.
LEVIN, J., did not sit in this case.
